       Case 1:24-cv-10049-LJL          Document 224       Filed 05/19/25      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


BLAKE LIVELY,                                      No. 24-cv-10049 (LJL) (lead case)

                              Plaintiff,

               -v-

WAYFARER STUDIOS LLC, et al.,

                              Defendants.


WAYFARER STUDIOS LLC, et al.,                      No. 25-cv-00449 (LJL) (member case)

                              Plaintiffs,

               -v-

BLAKE LIVELY, et al.

                              Defendants.


    DECLARATION OF ESRA A. HUDSON IN SUPPORT OF CONSOLIDATED
 DEFENDANT BLAKE LIVELY’S MOTION FOR RULE 11 SANCTIONS AGAINST
 PLAINTIFFS JENNIFER ABEL, MELISSA NATHAN, STEVE SAROWITZ, JAMEY
       HEATH, IT ENDS WITH US MOVIE LLC, AND THEIR COUNSEL

       I, Esra A. Hudson, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am an attorney licensed to practice law in California and am a partner with the

law firm of Manatt, Phelps & Phillips, LLP, counsel of record for Consolidated Defendant Blake

Lively (“Ms. Lively”) in the above-captioned action. I have personal knowledge of the facts set

forth herein, which are known by me to be true and correct, and if called as a witness, I could and

would competently testify thereto.
       Case 1:24-cv-10049-LJL        Document 224         Filed 05/19/25     Page 2 of 3




       2.     I respectfully submit this declaration in support of Ms. Lively’s Motion for Rule 11

Sanctions Against Plaintiffs Jennifer Abel, Melissa Nathan, Steve Sarowitz, Jamey Heath, It Ends

With Us Movie LLC, and Their Counsel.

       3.     Attached as Exhibit A is a true and correct copy of the Safe Harbor Letter and

motion that I served to Mr. Freedman, Mr. Schuster, and their respective law firms, regarding

claims brought by Jennifer Abel, dated April 23, 2025.

       4.     Attached as Exhibit B is a true and correct copy of the Safe Harbor Letter and

motion that I served to Mr. Freedman, Mr. Schuster, and their respective law firms, regarding

claims brought by Melissa Nathan, dated April 23, 2025.

       5.     Attached as Exhibit C is a true and correct copy of the Safe Harbor Letter and

motion that I served to Mr. Freedman, Mr. Schuster, and their respective law firms, regarding

claims brought by Steve Sarowitz, dated April 23, 2025.

       6.     Attached as Exhibit D is a true and correct copy of the Safe Harbor Letter and

motion that I served to Mr. Freedman, Mr. Schuster, and their respective law firms, regarding

claims brought by Jamey Heath, dated April 23, 2025.

       7.     Attached as Exhibit E is a true and correct copy of the Safe Harbor Letter and

motion that I served to Mr. Freedman, Mr. Schuster, and their respective law firms, regarding

claims brought by It Ends With Us Movie LLC, dated April 23, 2025.



//

//

//




                                               2
       Case 1:24-cv-10049-LJL        Document 224         Filed 05/19/25     Page 3 of 3




       8.     Attached as Exhibit F is a true and correct copy of the Letter Response that Michael

Gottlieb and I received from Ellyn S. Garofalo, dated May 13, 2025.

       I declare under penalty of perjury that the foregoing is true and correct. Executed in Los

Angeles, California on this 19th day of May 2025.


                                                   /s/ Esra A. Hudson
                                                   Esra A. Hudson




                                               3
